Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 1 of 45 Page ID #:5




                          EXHIBITA
          Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 2 of 45 Page ID #:6

Elec:ron�ally FILED by Superior Coun of Calllornia, County of Los Angele9c on   06112120'�ST8f4kle..ft"i R. Carter, Executive Officer/Clerk of Court by R. Clifton,Depuly Cl�rk

                                                                                                                                                                          SUM-101
                                                        SUMMONS
                                                    (CITACION JUDICIAL)
                 NOTICE TO DEFENDANT:
                 (AVISO AL DI!IIIIANDADO):
                  THE     GEO GROUP, INC., and DOES I                           to   20,lnclusive

                 YOU AREBEING SUED BY PLAINTIFF:
                 (LO ESTA DEMANDANDO EL DEMANDANTE):
                 TRAMELL DAVIS


                  NOTICEIYouhlweboonsued.Thocourtmay-agoN!you-yourbO!ng--)'Ourespond_30_RMdlfw�lbUIBiic>o\
                  below.
                    You hiiYe 30 CALENDAR DAYS -Chll- end ioGal- --on you bile • - - ati!Dcourtond hovea copy
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               (EI nornbtw y dit8cci6n de Ia oorle oo):Stanley Mosk                                 -- """""'
                                                                                                            1 9STCV2051 4
                Superior Court of California, County of Los Angeles
                Ill N. Hill Street, Los Angeles, CA 90012. Central
               The name. address. and talepl1one number d plaintlll'a �.or plalntllf wllhoul an at1Dmey,ls:
               (EI nombn>, IB dln>ccl6n ylll nllmero de leiMooo dol llbogedodlll-te, o dill de111811- que no Ilene abogedo, oo):
                The Meridian Law Group, 222 N. Pacific Coast Highway, 20th Floor, EI Segundo, CA 90245. (310) 364-5248
                                                                                                                Sherri R. Carter Executive Otr�eer I Clerk of Court
               DATE:       0611212019                                                              Clert<. by                                                           , Deputy
               (Fecha)                                                   (Sectelatio)          Rorrunda Cli'ton                                                         (Adjunlo)
              (For prodol- olthi4tw1711710t1B, use Prod ol SiliVIC8OlSum""'"" (farm POS.C10).)
              (Para prueba de� de este- uae elfomtulw1o Proof of Service of Summons, (POS-{)10)).
                                      NOTICE TO THE PERSON SERYI!D: You are-
              r::�EAII=-----,,
                                                      1. D       aa an Individual delandant.
                                                      2. D       as   the person sued under the fic:lltiouo name of (sped(y):


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                                                           �bah (.spec:M'yJ�e £1t l:JYl)                        u            u   f"       \11L
                                                           under: �418.10(corporatlon)                                                         418.80
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                 SUM-100 [Riw, My 1. :200$)                                                                                                                       -�C.tptl
           Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 3 of 45 Page ID #:7
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                                                                                              12:42 PM Sher•i R. caner. Exeeull¥9 Off.cerJCierk   of Coun. by R. Clifton.Deputy Clerk
      .    .           ·
                                                                                           19STCV20514

                                             Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Stephen
                                                                                                                               Goorvitch


                                                                                                                                                                           PLD-PI-001
                    ATTORNI!YORPARTY' � 1\TTCIRfEY ,._._,_.......,.Md....._.                                                                           1'011 COCitTUK OM.Y'

                 f-"''Philip L. Marchiondo, Esq. (SBN 129947)
                       Tim MERIDIAN LAW GROUP
                       222 N. Pacific Coast Highway, 20th floor
                       E1 Segundo, CA 90245
                           TELEPt«lNEN<> (310) 364-5248         ....... _ (310) 364-5249
                   ._._...,._
                            ..                     meriC!ian_law_group@yahoo.com
                       •n"'""'"""-       Plaintiff TJ'IIIIlell Davis
                  SUPERIOR -Of CAIJFORIIIA. COUNTY Of LOS ANGELES
                       !mOOET ...,.,.... 1 I I N. Hill Street
                                .

                              IWUNG .tDDM:SS:

                                                          CA 90012
                              ctTY ANOZIP CXlDE: Los Angeles,
                                 MAHCHMAME;   Stanley Mask
                                   PLAINTIFF: TRAMELL DAVIS

                                DEFENDANT:         THE GEO GROUP, INC., and

                  IZJ DOES 1 TO 20        Inclusive
                   COIII PI.AINT-Pe-al Injury, PI'Cifl'llt) Damqe, Wrongful Deldh
                              0 AMENDED (Numbet1:
                   Type (checlr .. ,., .,ppy):
                  D IIOTOR VEltiCLS                     IZJ OTHER (ap<A'J1: Premises Liability

                       -Injury@ Proptl1y� B
                  Jurtoocll-. (checlr 811-.,ppy):
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                                                                    Other o..nq. (apec/f}IJ:
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                  0 AC'TION IS A Ulll1m CNL CASe
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                  0 ACTION IS RECLA881FJeD lor lhlo .,_,dod c-ploolnt
                           D�n>mamll8clto-118c1
                           D - unllmll8ciiiD-
                1. Plofntll'l (neme ornemes}: Tramell Davis
                   alleges..,._ of ac:tion against -��� (name orIIOmN]:
                   The GEO Group, Inc.
                2. Thisploedlng. induding-.-andexhibfta, conololllofthllfollowingnumberof- five
                3. Each plainlfflrwned -• a competanl adutl
                   a. D -..t plalnffll(neme}:
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                              cs> D - (spooo;ryJ:

                   D lnfcrma1ion about addiiJonal plainlffll wno are not COII1PIII8nt adulblla •"-' in A1lacllmen13.
                                                                                                                                                                                    . ...

                '�,':.,,..                                            COMPLAINT-Personal Injury, Property
               1'1.1>4'04>1   ��'>-· _, '· 2007!                                 Damage, WrongfUl o..th
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 4 of 45 Page ID #:8




   l
                                                                                                                                  PLD-PI-001
         ___ ,--
       SHOfH 1!TLE

       DAVIS v. THE GEO GROUP, INC., eta!.,


   4. Cl Plaintiff (nam4):
                 is doing business under the ficliliouo nama (�:

                 and has oomplled with the fictitious bulinal8 name lawo
   5. Each def&ndant named - is • natunll person
       a. W         except def&ndant (""""'): The GEO Group, Inc.          c   D except defendant (name):
                    (1) Dab� organization, form unknown                          (1) D a buaineas organiZation, form unknown
                    (2) m a C()lporation                                         (2) D a corporation
                    (3) D an uninoolporll1ed entity (dHcrfbe):                      (3) D an unincorponded entity (d83cribe}:

                   (4) D a public entlly (-):                                      (4) D a public entlly (desalbe):

                    (5) D other (spec;ty}:                                         C5l D      other !specify):



       b. D uceptdef8ndant(name):                                          d. D except defendant (""""').
            (1) D a bullineas crganlzation. form unknown                        (1) D a buoineas organization. form unknown
            (2) D a corporation                                                 (2) D a corporetion
            (3) D an unincotporaled entlly (deactfbe):                          (3) D an unincOIJ>onded entity (desalbe):

                   (4) D a pubic entlty (describe):                                (4) c:J a public entity (describe}:

                   (5)   L.......J   other (specify):                              cs> D other !specify):


       D Information about additional defendants who ana not natural persona is conlalnad in Attachment 5.
  6.    The true names of-dantl auod as Doeo ""' unknown lo plaintiff.
        a. W Doe delendaniB (specify Doe numlHitll): I to 20                          -.. the agents or employee�� of oilier
                 named def8ndanta and ac:md within the acope of that agency or employment.
        b. w Doe def&ndants (opec/fy Doe nutnbeisJ: I to 20                          .,.. persona W110ae capacities""' unknown to
                 plaintiff.
  7.    0 Oe-nta who ara joined under Code of CM Procedunt aaction 362 are (names):



  8.    This court 18 the proper oourt becauae
        a. D at least one def8ndent now- In liB jurisdictional al8&.
        b. =::J the pi'lncipal piece of buslneoa of a defendantcorponolion or unincorpora!ad oesoclation lain liB jurisdictiona l area.
        c. W Injury 1o parson or damage 1o p&niOIIa l � occunred In liB jurisdictional 8188.
        d. D other (specify):



  9.   D Plaintiff is raquired 1o comply with • claims -· and
       a. D has comptied with lli>P- dalm8 �.or
       b CJ ia exoueed ITOm complying because (specify):




                                                        COMPLAINT Pe,.onal injury, Property·-­
                                                             Damage, Wrongful Death
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 5 of 45 Page ID #:9



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                                                                                                                                                PLD·PI-001
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  1': s::c�r�- �,r �-:::- r:� �E:�-H-_E G_E_' (_l _G_R_ O� P .-1-N_C , -et_ a_l-,
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                                                                                                 -         - ·�      """' """"'�---- -
                                                                                               -· ·---··
                                                                  ___               -------·                                               - - - -

                                                                                                                                   ·    ··           -   -'




   10.    The following causes of action aAI attaehed and the s1atements ab01111 apply ID eac:h (each comp/Bint must have""" or""""
          causes ofaclion -}:
          a 0 Motor Vehicle
          b. rn Gen81'111 Negligence
          c D Intentional Tort
          d. D P-Liability
          e '7] Premises Liability
          f. Lc Other (sp&e�ry}:




   1 1.   Plaintiff has sutraAid
          •    [l]     wage loos
          b. r l loss of use of -'Y
          C. I { j hosplial and medical 8l<l>8fl88S
          d. [l] general damage
          e. D property damage
          I [ZJ loss of eemlng C8118Ci1Y
          g. m other damage (sp&Ciry}:
                       AB proof may be shown at trial of this matter.



  12. D The damages claimed for wrongfuldt!a1h and the nolallonohlps ot plaintifiiD 1he dec<lased ""'
      a. 0 listed In Atblchment 12.
      b. D as 1onows:




  13.     The relief oought in this complaint n. within the jurtocrldion of 1hls court




  14.     Plllnl tlll pray• lor judgment lor costs of suit for such relief as is fair, jllst, and equitable; and tor
          a. ( 1) [l] compensatory damagea
               (2) D puniiMI damages
               The amount of damagea is (ill casas for pen!OIJal injury"' wrongful dell1tl, )'OU must check (1}}:
               (1) [l] accorolng tD proof
               (2) 0 in 1he amount of:$
  t 5.    0     The paragraplul of this complaint atlaged on inrormatlon and belief""' u follows                 (specify paragropll numbOB}:



  Date:    May 23, 2019

  Philip L. M=hiondo

           • ;R...             ::::-     -----.=...-.....,--;:;=:===..---::----------­
                                                                                    P... h,:a
 =     =::;:
 PUJ.PI.OO      ::-=  ::::-:-:
                   �a-ul'i' 1. 10'JTJ :-     COMPL.AJNT--Personal Injury, Property
                                                  Dam•ge, Wrongful Death
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 6 of 45 Page ID #:10




                                                                     -------                           :
                                                                                             ..-::::;;:= ;;;:- ---         PLD-PI.C01(2)

                                                                                                                                 I
                                                                  ·-                          I CASt NUMRER:
   ; SHORT TITLE·
   ! DAVIS THE GEO GROUP, lNC.,et al.,
            v.
                                                                           ----"-                                                   �_j
   l                                                       ------                                 -------




        FJRS"-'T'--
                  -- ==                   - CAUSE OF ACTION-General Negligence                                        Page       four
                       �
                                     -


                     (number)
        ATTACHMENT TO              [{] Complaint     c:J    Cross· Complaint

        (Use a separate cause of ac11on fotm fer oech cauoe of SCI#on.)

        GN-1. Plaintiff (name}:       Tramell   Davis

                 aHeges that defendan1 (name}: The GEO Group, Inc.



                              m    0oes    1                1D   .::
                                                                 2;::_
                                                                   0 --  ---

                 wao   tile   legal (proximate) cause of dam-to plalntilf. By the lolio'Mng ads or omissions to act, defendant
                 negligently cauiMKI the damage 1o plaintiff
                 on(-): I l/11/l7
                 at (pioce): 2233 E. 69th Street, Long Beach, CA 90805

                 (description of ""'"""• for /lob/lily}:
                 That on or about ll/11/17, while plaintiff was a resident at the Male Community Reentry
                 Program, located at the above premises, cleaning up water on the floor in his bedroom from rain ·
                 water that had been leaking from the ceiling for an extended period of time, the c eiling collapsed,
                 onto him, causing him to fall onto the floor.

                 That at that time and place, defendants, and each of them, so negligently maintained, operated,
                 inspected and controlled said premises, and were so negligent in their supervision and control of
                 the acts of their employees, a gents, and other persons that were on said premises that they caused
                 an accident to take place which proximately caused injuries and damages to plaintiff.

                 Said fall was caused and the resulting injuries and damages were sustained as a proximate result
                 of defendants, and each of their, failure to use reasonable care to maintain, manage, control,
                 guard, warn, and keep said premises in a good and safe condition, free from any defective,
                 dangerous and hazardous conditions.

                 Defendants, and each of them, as owners, lessees, occupiers or controllers of tbe premises where
                 this incident occurr ed, fltiled to use reasonable care to keep tbe premises in a reasonably safe
                 condition or to discover any unsafe conditions and to repair, replace or give adequate warning of
                 anything that could be reasonably expected to harm others. The failure to use reasonable care in
                 tbe use or maintenance of the premises created an unreasonab le risk of harm.

                 Defendants, and each of them, failed to warn plaintiff of said defective, dangerous and hazardous
                 condition, although each of tbcm knew, or in the exercise of ordinary or reasonable care should
                 have known, of the unsafe, defective, dangerous and hazardous condition of said premises.




                                           CAUSE OF AC'I10N-Genenol Negligence
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 7 of 45 Page ID #:11




                                                                                                                                     PLD-PI-001(4)
   fs;;o,nmLE:                                                                                             '_
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                                       -------------------




   I DAVIS THE GEO GROUP,Il':C, eta!.,
           v.
                                                                                                                                                      .
   L----

       SECO�D                                 CAUSE OF ACTION-Premises Liability                                              Page   _.!fi,_,tv-"e-
             (number)
       ATTACHMENT TO [l] C<>mplalnt c:J Cross· Complaint
       (U.s-"' cause at action fonn fTit'eliCh- afaction.)
       Prem.L-1. PlainOO (fiBITIIJ): TnuneU Davis
                   alleges the acts of del&ooanta ware the legal (proldrnele) .,.._of damageBto plalnlll.
                   On (date): 11/11/17                               plaintiff was Injured on the folloWing premises In !he following
                        fashion (desetlp/ion ofpremises snd cltt:utnslances af Injury):
                        Plaintiff incorporates by reference GN-1                   as though    fully set forth berea!.




       Prem.L-2.         CZJ    Count 0�1..- The del&ndll'lts who negligently awnsd, malnlalnsd, managed and
                                _.atBd the� pramiles were (�����Ms):
                                The GEO Group, Inc., and

                                m eoes 1                          to    =-2o:;._
                                                                               ___




       Prem.L-3.          D     CountT--wtllfulFoHu,.IDWom{CIYIICode-846]Thedelandantownorswhowlllfully
                                        faUBd to guam or wam against a dangaroua condition. uoe, &trudU111, or activity """'
                                or maliciously

                                (names):



                               CJ     Does ---- to
                                Plalntll. a rectllloltl nal user. was    D         an lnvlled guell   D   a   paying guest.
       Prem.t-4.         D      Count�-- c-- of PubliC Properly The dofandants who - public property
                                on which a dangerous condition exialad ware(,.,.,.):



                                         CJeoes      ______               to
                                a.  The defendant publk: ant11y had CJ actual D constructive notice of the existence of the
                                     D
                                    dangeroua condition in sufticlent limo prior to the injury to have oomtelsd It
                           b. D Thecondition was - by au� of the del&ndant public antl1y.
       Prem.L-5.   a.    D Allogationo about Other Delencl- The del1!o•daull who were the agen1& and employees of the
                           ether defandente and adod Within the scope of the agency _, (names):




                               CJ Does                           to
                   b.          The defandll'lts who are Uablelo pialnUlls for othet reMOnS and the reasons lor their fiabilily are
                               D d08Cribod In attachment Prem.L-5.b D es follows (nemea):



                                             CAUSE OF ACTlON-P,...,.._                    Liability
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 8 of 45 Page ID #:12




                           EXHIBITB
LASC -CaseAccess                                                       Page1of2
 Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 9 of 45 Page ID #:13



CASE INFO RM ATIO N
Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed |
Proceedings Held

C a seN um ber: 19STCV20514
TRAMELL DAVIS VS THE GEO GROUP
F iling C ourt
             h ouse: Spring Street Courthouse
F iling D a t
            e: 06/12/2019
C a seType: Premises Liability (e.g.slip & fall) (General Jurisdiction)
St at us: Pending

Click here to access document images for this case
If this link fails, you may go to the Case Document Images site and search using the case number displayed on
this page




FU TU RE H EARING S
Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed |
Proceedings Held

11/25/2020 at 10:00 AM in Department 5 at 312 North Spring Street, Los Angeles, CA 90012
Final Status Conference

12/09 /2020 at 08:30 AM in Department 5 at 312 North Spring Street, Los Angeles, CA 90012
Non-Jury Trial

06 /08 /2022 at 08:30 AM in Department 5 at 312 North Spring Street, Los Angeles, CA 90012
Order to Show Cause Re: Dismissal




PARTY INFO RM ATIO N
Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed |
Proceedings Held

DAVIS TRAMELL - Plaintiff

MARCHIONDO PHILLIP L. - Attorney for Plaintiff

THE GEO GROUP - Defendant




D O CU M ENTS FILED
Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed |
Proceedings Held

D ocum e nts Fil
               e d (Fil
                      ing date s l
                                 is te d in de s ce nding orde r)
12/10/2019 Proof of Personal Service
Filed by Tramell Davis (Plaintiff)




http://
      www.
         lacourt
               .org/casesummary/
                               ui/popupCaseSummary.
                                                  aspx                                                          12/23/2019
LASC -CaseAccess                                                        Page2of2
 Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 10 of 45 Page ID #:14


06 /14/2019 Certificate of Mailing for ([PI General Order] and Standing Order re PI Procedures and Hearing
Dates)
Filed by Clerk

06 /14/2019 PI General Order
Filed by Clerk

06 /12/2019 Notice of Case Assignment - Unlimited Civil Case
Filed by Clerk

06 /12/2019 Civil Case Cover Sheet
Filed by Tramell Davis (Plaintiff)

06 /12/2019 Summons (on Complaint)
Filed by Tramell Davis (Plaintiff)

06 /12/2019 Complaint
Filed by Tramell Davis (Plaintiff)



PRO CEED ING S H ELD
Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed |
Proceedings Held

Proce e dings H e l
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None




REG ISTER O F ACTIO NS
Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed |
Proceedings Held

Re gis te r ofActions (Liste d in de sce nding orde r)
12/10/2019 Proof of Personal Service
Filed by Tramell Davis (Plaintiff)

06 /14/2019 Certificate of Mailing for ([PI General Order] and Standing Order re PI Procedures and Hearing
Dates)
Filed by Clerk

06 /14/2019 PI General Order
Filed by Clerk

06 /12/2019 Civil Case Cover Sheet
Filed by Tramell Davis (Plaintiff)

06 /12/2019 Summons (on Complaint)
Filed by Tramell Davis (Plaintiff)

06 /12/2019 Complaint
Filed by Tramell Davis (Plaintiff)

06 /12/2019 Notice of Case Assignment - Unlimited Civil Case
Filed by Clerk




http://
      www.
         lacourt
               .org/casesummary/
                               ui/popupCaseSummary.
                                                  aspx                                                       12/23/2019
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 11 of 45 Page ID #:15




                            EXHIBITC
            Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 12 of 45 Page ID #:16

            CORPORATE CREATIONS"
                 Registered Agent • Director· Incorporation


Corporate Creations Network Inc.
11380 Prosperity Farms Road #221E, Palm Beach Gardens, FL 33410


                The GEO Group, Inc.                                                                                                                           11/26/2019
                Joseph Negron SVP & General Counsel
                The GEO Group, Inc.
                4955 Technology Way
                Boca Raton FL 33431




   SERVICE OF PROCESS NOTICE
   The following is a courtesy summary of the enclosed document(s). ALL Information should be verified by you.                                                                    Item: 2019-684

   Note: Any questions regarding the substance of the matter described below, including the status or how to
   respond, should be directed to the contact set forth in line 12 below or to the court or government agency where
   the matter is being heard. IMPORTANT: All changes or updates to the SOP contact individuals or their contact
   information must be submitted in writing to SOPcontact@corpcreations.com. Any changes will become effective
   upon written confirmation of Corporate Creations.


    1.                       Client Entity: The GEO Group, Inc.

    2.                     Title of Action: Tramell Davis vs. The Geo Group, Inc.

    3.             Document(s} Served: Summons
                                              Cause of Action
                                              Civil Case Cover Sheet
                                              Civil Case Cover Sheet Addendum and Statement of Location

    4.                     Court/Agency: Los Angeles County Superior Court

    5.                      State Served: California

    6.                     Case Number: 19STCV20514

    7.                         Case Type: Personal Injury

    8.                Method of Service: Hand Delivered

    9.                    Date Received: Monday 11/25/2019

    10.                    Date To Client Tuesday 11/26/2019

    11.      # Days When Answer Due: 30                             CAUTION: Client is solety responsible for verifying the accuracy of the estimated Answer Due Date. To avoid missing a crucial
                                                                    deadline, we recommend immediatety confirming in writing with opposing counsel that the date of the service in their records matches
                    Answer Due Date: 12/25/2019                     tt1e Date Racejved.


    12.                      SOP Sender: Philip L. Marchiondo, Esq.
            (Name, City, State, and Pholle Number) El Segundo. CA
                                              310-364-5248

    13.            Shipped To Client By: Email Only with PDF Link

    14.                Tracking Number:

    15.                       Handled By: 051

    16.                              Notes: Also Attached:
                                              *   Standing Order Re: Personal Injury Procedures, Central District
                                              *   First Amended Standing Order, etc.



    NOTE: This notice and the information above is provided for general informational P-.Y..!:QQSes only and should not be considered a legal ooinion. The
    client anQ their legal counsel are sQiely...m§.P-Qnsible for reviewing the service of grQ.gess and verifying the accurac:i of all information. At Corporate
    Creations, we take pride in developing systems that effectively manage risk so our clients feel comfortable with the reliability of our service. We always
    deliver service of process so our clients avoid the risk of a default judgment. As registered agent, our role is to receive and forward service of process. To
    decrease risk for our clients, it is not our role to determine the merits of whether service of process is valid and effective. It is the role of legal counsel to
    assess whether service of process is invalid or defective. Registered agent services are provided by Corporate Creations Network Inc.

                        11380 Prospenty Farms Road #221E. Palm Beach Gardens, FL 33410                                Tel: (561) 694-8107             Fax: (561) 694-1639
                                                                           www.CorporateCreations.com
       Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 13 of 45 Page ID #:17

E'ei::roonC<>I'y FILED "' Supenor Cuu'l or Californ<a, County of Los Angel&s on   06i12120�!9f��tri R. C&rter, Execut•ve Offic-.er!Gierk of Gou"', by R. Clifton.Depuly Clerk


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                     THE MERJDIAN LAW GROUP
                     222 :-l. Pacific Coast Highway, 20th Floor
                     El Scwndo. CA 90245
                     TEi£J>WONE ..,.    364-5248�                                 "'"..,, (31 0} 364-5249
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               2.    This case         Is          is not    compleX under rule 3.400 of the C.ilomle Rules of Court If the caee ia complex. mart< the
                     factors requiring exceptional Judicial manogern<�nl:
                     a. D targe number of separately represented parties                        d. D Large number of witnesses
                     b. D Extensive molion practice raising diffiCUlt or oovel                  e. D Coordination with related actions pending In one or more courts
                                Issues thatWift betimt><:DOsurning to nseolve                            In other counties. states. or countries. or in a federal court
                     c.   D     Substantial amounl of documentary evidence                      f.D SUhatantial poetjudgment judicial supervision
              3. Remedlea sought (checl< elf that spply): a.[l] monelary                       b. 0 nonmc>n� � or injunctive relief                            c.   D punitive
              4. Number of cauaee of action (spocify): Two
              5. Thill (l8S8 D is     fZl is not a class action suH.
              6. �!here""' any known related caseo, file end serve a ootlce of -ed ca&e. (You msy USB fon'}-C'M
              Date: May 23, 2019
              Philip L. Marchiondo

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                  under the Probate Coda. Family Code, 01 We/fa"' and lnsututlons Code). (C.L Rulea of Court. rule 3.220.) FaiUre to file may raau•
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                • WIhis case Ia complex under rule 3.400 et seq. of the Celtfomla Rules of Court. you must seMI
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                  - partiee to the action or proceeding.
                • Unless this Is e collections case under rule 3.740or a compl'ex case, this cover sheet wHI be used for statistical purposes on .
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Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 14 of 45 Page ID #:18




                                                                                                                                       CM-010
                                      INSTRUCTIONS ON HOW TO COMPLETE lliE COVER SrlEET
    To Plalntlllia and Othonl Filing Am P-. W you are filing a firs! papa' (for example, a complaint) In a civil case, you muolt
    complete and flle. along with your firB1 paper, 1h8 CM C.H Ccver ShHt conbllned on pege 1. This information wiU be used to compile
    ota11stlca about the types and numbers of....,. filed. You must complete 11emo 1 lhrougll 6 on 1h8-. In Item 1. you must chad<
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   ched< the more specific ona. W the case has mulllple .,.._ of acllon. dleclt the box that best lndlcales the prlmlry cause of action.
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   sheet must be flied only with your Initial paper. Failure to ftle a crN&r sheet with the 11m paper filed in a civil case ma� subject 8 party,
   ItS counsel. or both to -no under nJiaa 2.30 and 3.220 of the C&IWomia Ruleo of Court.
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   owed in o sum slated to be certain thalia not more lllan $25,000,- of '"*-I and a11omey'a -· arioing from a tnlnBaCiionln
   whim property, servlcee. or money was eoqUired on credit. A-""" doeo not lncludo an ec11on oaeldng 1he following; (1) tort
   damages, (2) punitive darnageo, (3) rBOCMIIY of real property, (4) � of peiBORal property, or (5) a prejudgment writ of
   allachrnen1. The ldantllication of 8 case as a rule 3.740 colec:llon s case on 1hl8 form means that k wiU be exempt from the general
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   caae will be subjeCI to the requlramants for oervioo and olJtalnlng a judgment In rule 3.740.
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   case Ia complex. ff a plaintitf belieVes the case Ia oomplax under rule 3.400 of lhe catifcml8 Ruleo of Court, this must be indcatad by
   oompletlng the appropr1ate boxae In Items 1 and 2. If a plaintitf �-a case as complex, the � sheet muot be .....ed with the
   complaint on all parties 1D the action. A dafandarrt may ftle and- no- then the time of illl flrol appeaoanoa a joinder In the
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                                                     CIVIL CASE COVER SHEET                                                          P-v-iotl
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 15 of 45 Page ID #:19




      SHOF<T1H·.F
                     DAVIS v. Tr!E GEO GROUP,            INC., et al.,


                                     CIVIL CASE COVER SHEET A DDENDUM AND
                                             STATEMENT OF LOCATION
                      (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
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                                                                                                         .   ...... ---···-




  1               This form Is required pursuant to L<x:al Rule 2.0 In all n- cMI -filings In the Los Angeles Superior Court.
      -   .   .




      Item I. Check the types of Maring and fill in the estimated                length of hearing expected fur this case:

          JuRvmrAL?        Ill YEs       CLA'ISACTION?    D      YES LIMITED CASE?       O vEs       TIMEESTrMATEDFORTRIAl .:::           """Rl.;.uo
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       Item II.     Indicate the corre<:t districl and courthouse location (4 steps -If you checked "Umiled Case', skip to Item Ill, Pg. 4):


          Step 1: After first completing the CMI Case Cover Sheet form, flnd the main CMI Case Cover Sheet heading for your
          case in the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case lype you selected.



          Step 2: Check!!!!! Superior Court type of action In Column B below which best describes the nature of this case.


          Step 3: In Column C, circle the _,.,fur the court location cholee that applies to the 1ype of action you have
          checked. For any exception to the court location, see Local Rule 2.0.

                              I   Applicable Reasons for Choosing Courthouse Location [s�                           �."11'1" C below)      j
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          5. LDcotion--anco OIQI.II redO<...-nt -.                                             10.   L.ocalon of Labor Commlsalcner Oll ce



          Step 4: Fill in the information requested on page 4 in Item Ill; eomplels Item IV. Sign lha declaretlon.



                                     A                                                        B                                                              c
                         Civil Case Cover Sheet                                         Tl'P'J of AdJon                                        Applialble --
                              C.� No                                                  (Choci< only one)                                          SeoSaop3Abcwo

                                  Au!D(22)           [J A71 00 Motor Vehk:le • Personal injUry/Property DamagaiWrongful Death                  1., 2., -4.

                         Uninsured Motorist (-46)    0 A7110 ""11C<1allrjl.fy/Prope!1y �lui Oea1h- Uoinsured Motorist                          1., 2., -4.


                                                     n A6070 A6beslos Property Damage                                                          2.
                             Asb6<10&(04)
                                                     0 A7221 Asbestos- Personal l f1uryJ'INrongful Dealtl                                      2.

                          Product Liabilrty (24)     0 A72SO Product UQbllity (not asbNto$ or tcxicJenviroomeotal)                             1., 2., 3., -4., 8.

                                                     0   A7210    Meliical Mapractfee- Physidans & Surgeo(l$                                   1., 4.
                        Medical Mal)nctice (45)
                                                     0 An4o Other Professionaf Health Care Malpractice                                         1.,4




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      LACIV 109 (Rev. 03/11)                        CIVIL CASE COVER SHEET ADDENDUM
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Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 16 of 45 Page ID #:20




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                DAVIS v. THE GEO GROUP, INC., elal.,
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                     ClvY case cover s11ee1                                            TypeofAciiOn                                    Applicable Reasons   •

                          Category No                                                 (C,_ only ono)                                    See stop 3 Ab<M>

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       1!          Wrongful Termination (36)        D A6031 W-TermlnaUo<t                                                           L,2.,3.



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       0                                            D A6012 other Promissory Notlt/Collediona case                                2 .. 5.
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                   II\SIJrance Coverage {18)       0 A6015 Insurance Coverage (not com�)                                          1., 2., 5., 8.

                                                   0   A8009 CCntradual Fraud                                                     1.,2.. 3.,5.
                     Olher ConCnott (37)           0 M031 Tortiou1lnwrtii•IC8                                                     1 2.,3.,5.
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                   Eminent Domalnllnvem
                                                   0 A7'300 Eminent Domain/Condemnation                Number of parcels          2.
                     Condemnation (14)                                                                                 __




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     =
                    Wrongful Eviction (33)         D A6023 Wrongful E.vJctlon Case

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                  Other --(28)                     0 All032 Quiet TIUe                                                           2 . . 6.
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                                                   D A8021 Unlawful Oet.aJner-COmmerdal (not drugs or wrongful eviction)         2., 6.
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                   Post-Fo�closure (34)            0 A6020F Unlawful Detalner.Poat-Forectosure                                   2 .. 6.

                Unla'Hful Detsinar..Qrugs (38)     0 A6022 Unl.wful Oetafter-Orugs                                               2., 6.



  LACIV 109 (Rev. 03111)                          CIVIL CASE COVER SHEET ADDENDUM                                             Local Rule 2.0
  LASC ..._ O:><J4                                   AND STATEMENT OF LOCATION                                                  Page 2of4
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 17 of 45 Page ID #:21




   SHCRtll.,.lF
  I               DAVIS v. THE         GEO GROUP, INC.,           et al.,


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                       Clvtl Case Covet Sheet                                                                                   AppiCIII>!oRouons­
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                      Petition re ArbitreHon ( 11)      D M115 Petldon to Compei/Conflnn/Vacate Atblttatlon                    2., s.


                                                        0 A6151 Writ� Admillstratf\oe Mandamus                                 2., 8
                         Writ o1 Mandate (02)           0 A6152 Writ- Mandamus on Limited CotM1 Case Matter                    2.
                                                       0 A€1153 Writ· Other Limited Court Case Review                          2.

                     Other Judicial R6'o'ie\N (3B)      0 A8150 Othef Writ/JudiCial Relr'tew'                                  2.8


                  l Anlltrvs:t!Trade Regulation (03)   0   A8003 Antirust/Trade Regulation                                     1 .. 2., 8.


                      Consb'uction Doleet (10)         D Aa007 Construction Defect                                             1.• 2, a

                     Claim$ Involving Mass Tort
                                                       0 M006 ClaiiTI$ Involving Mus Tort                                      1., 2 .. 8.
                                 (40)

                      Secutitres Uligation (28}        tJ A6035    SeC>Irttieslltlgoti<>n case                                 1.,2., s.

                             ToxiG Tort
                                                       D A6036 Toxic Tort/Environmental                                        1 . 2.. 3. 8
                         Environmerrtal (30)

                     lnsuranoe Coverage CIE!Iim$
                                                                                Coverage/Subrogation {complex ease only)       1., 2., 5. s
                       1rom Complex Case (41)
                                                       0   A60i4    Insurance



                                                       0 All141 --�                                                           2.,9.

                                                       0 Nl1110 _.,-.r                                                        2., 8.

                            E-                         0 1\8107 �ofJudg....,.�IO<-I,...c-a)                                   2.,9.
                          ofJudgment(20)               0 A6140 _ln___ (notUf'4)81d-)                                          2.,8.

                                                       o 1\8114    F'<l�forEntryoiJuclgmernonUnpaldTox                        2, B.

                                                       tJ A6112 01herEn!on:omontofJudgmeniC:.O                                2.,8.,9.


                             RICO (27)                 o AII033    Racl<....,ng (RICO) Case                                   1., 2., 8


                                                       D Ae030 Ded wkuf' �Onty                                                1.,2., 8.

                         attwCcm-                      0 M040 lrjun-RellofOnly(not--.,                                        2.. a.
                     (Not Spedfled Above) {42)         o A8011 Other Commercial Complaint Ctfe (non-tortlnon-compfex}         1.,2. 8.

                                                       D A8000 Oth• ClvU Complalnt (non-tortlnof'l..(;oex}                    1.,2. . 8.

                      Panne,..,,. Cor;>ora1Jon
                                                       Cl A6113 Partnership and Gofporate Governance Case                     2.• 8.
                        Governance {21)

                                                       CJ Ae121 Civil tta..........                                           2" 3., B.

                                                       0 Ae123     Workploco Hano-                                            2., 3., 9.
                                                       0 Ae124 Eldetl!lojJorwlen1 A<hAt - Gasa                                2.. 3.,9.
                          Other Petitions
                       (Not Specified Above)           0 1\8180 EledlonC...-                                                  2.
                                t•a)
                                                       0 M110 -forCbenoool-                                                   2., 7.
                                                       0 M170 Petllb'llor ReHer bin LOt C1Mn Lew                              2.• 3.,4.,8
                                                       D Ae1DO OW.. CMI Pe4lllon                                              2.. 0.




   lACIV 109 (Rev. 03/11)                            CIVIL CASE COVER SHEET ADDENDUM                                       local Rule 2.0
   LASC AppRWed 03-04                                   AND STATEMENT OF LOCATION                                            Page 3of4
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 18 of 45 Page ID #:22




  I   '"""'
                ""
                         DAVIS   v.   THE GEO GROUP,         INC.   .   et al..



       Item 111. S1atement of LocatiOn: Enter the address of the accident. party's residence or place of business,           perfonnance, or other
       circumstance         indicated In Hem       II., Step 3 on Page 1, es the proper reason for filing in the court location you selected.


       r�
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                                                                                                                               ----,.J
                     :   Check tM apptOPrlate bo&u for the numbers Mown             2233 E. 89th Street
         :::.=-             c for tho.,... of •<lion- you-- for


       I
       ,        Ll1. :J2.
       �-·-�·------
                             LJ3.     1;,4_ U5.   06. 07. 08. 09.010.
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       I
       '
         Cl��                                           STATE:           ZIPCOOE:

           Lonw Sooeh                                   CA               90805


       Item IV. DecianiiJon ofAssignmsnt I daclare und..- penally of peljury under the lawB of the State of California that the for9golng Is true
                                                                                                                Moll<
       and c:omoct and that the llllOve-ered rtiiJ matter Is property !lied for IAignmenl to the Stanley                 courthouoe In the
       Central                 Oistrlcl of the Superior Court of California, County of Loo Angeles (Code Cl\1. P!oc § 392 et HQ., and Local
                                                                                                                        .•



       Rule 2.0, subds. (b), (c) and (d)].




       Dated: May 23, 2019




      PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
      COMMENCE YOUR NEW COURT CASE:

               1.   Original Complaint or Petition.

               2.   If flNng a Complaint, a cornple1ad Summons fonm for issuance                by tha Clerk.
               3.   Civil case Cover Shaet, Judicial Council form CM-010.

               4.   Civil Case Cover Shaet Addendum and Statement of Location form, LACN 109, LASC Approwd 03-04 (Rev.
                    03/11}.

               5.   Pay ment in       full of tha ftllng fee, unless feea have been waived.
               6.   A signed order appointing tha Guardian ad utem, Judicial Council form CIV-Q10, If tha plaintiff or petitioner Is a
                    minor under 18 years of age wtU be requi'ad by Court In order to Issue a summons.

               7.   Additional oopies of documents to be conformed by tha Clerk. Copies of tha cover sheet and this addendum
                    must be served along with the summons and oomplalnt, or othar initiating plaeding in the case.




      LACIY 108(Rev. 03/11)                           CIVIL CASE COVER SHEET ADDENDUM                                        Local Rule 2.0
      LASC�03-04                                         AND STATEMENT OF LOCATION                                             Page4of4
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 19 of 45 Page ID #:23


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       · -- - _ __ _ _ _ _ _ _ _ _ _ _ __' _ _ _ _ __ ------.----,;;
          S U P E R J O R C O U R T O F CA LlF O R NIA
                                                                  , .,;;;;
                                                                      ;; =�· "c"'·• '"'"'"'s• '-'� ;;;;
                                                                      """"                         mr,-                            ----l
                              C UNTY F L S ANGELES
                               O     O  O                                                                                              i

   COURTHOUSE ADDRESS
                                                                                                                         FILED
  Spring Street Courthouse                                                                               S�era Court of Caii!O!ria
  312 North Spring Street, Los Angeles, CA 90012                                                           County of Los Angeles
                                                                                                             06/1212019
                        NOTICE OF CASE ASSIGNMENT

                              UNUMITED CIVIL CASE

   --                                                   .
                                                                                   I
                                                                                                                         -
                                                                                                    R;
                                                                                                                  -·--

                                                                                              NUMBE



                                                                                                                                     l
                                                                                                         ··--·--·

                                                                                       CASE

                                                                                   ,
   Your case is assigned for all purposes to the judicial officer indicated below. 19STCV20514




    ./      Stephen I. Goorvitch




    Gi,cn   to   the Plainrifr('m<S-ComplainantiAttorney of Record   Sherri R. Carter, Executive Officer I Clerk of Court
    on   0611312019
                     (Date)
LAC IV 190 {Rev 6118)          NOTICE OF CASE ASSIGNMENT- UNLIMITED CIVIL CASE
LASC Approved 05/06
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 20 of 45 Page ID #:24



                                      INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES


The fn!lev.'ing cntical provisions of the California Rules of Court, Title 3. Division 7. as applicable in the Superior Court. arc summarized
for your assisnnce,

APPLICATJON
The Divisilm 7 Rules were effective January 1. 2007. ll1ey apply to all general civil cases.

PRIORITY OVER OTHER RU!.ES
The Division 7 Rules shaH have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JliPGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
               u party has not yet appeared. within 15 days of the first appearance.
1o a judge, or if

TIME STA"'DARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:


COMPLAINTS
A ll�.:omplaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.


CROSS-COMPLAI"'TS
\Vithout leave of court first being obtained. no cross-complaint may be filed by any party after their answer is filed.                   Cross·
complaints shall be served within 30 days of the tiling date and         a   proof of service filed within 60 days of the filing date.

STAT�S CONFERENCE
A status conference will be scheduled by the a..�signed Independent Calendar Judge no later than 270 days after the filing of the
complaint.    Counsel must be fully prepared to discuss the following issues: alternative dispute resolution. bifurcation, settlement.
trial date, and expert witnesses.

Fl:o.IAL STATUS CONFERENCE
The Court ...... til require the parties to attend   a   final status conference not more than 10 days before the scheduled trial date.      All
partie� shall have motions in limine. bifurcation motions, statements of major evidentiary is!'ues. dispositive motions, requested
form jury instructions. special jury instructions, and special jury verdicts timely filed and scned prior to the conference.              These
matter...:. may be heard and resolved at this conference. At leru."t five days before this conference. counsel must also have exchanged
iists of exhibits and witnesses, and have submitted to the court         a   brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

S,�"'CTIO"'S
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules. orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party.
or if appropriate, on counsel for a party.

This is not a complete delineation of the Dh·ision 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Dela)· Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2J, all class actions shaH be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse.              If the case is found not to be a class action it '"'ill be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially a.ssigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated C<lmple.x courthouse. If the case is found not to be complex. it will be
returned to an Independent Calendar Courtroom for all purposes.




LAC!V 190 (Rev 6/18}          NOTICE OF CASE ASSIGNMENT- UNLIMITED CIVIL CASE
LASC ApprO\Ied 05106
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 21 of 45 Page ID #:25




                                                                                                                          2018•SJ-001-0




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         3

           4                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                                                                         ShlmR.
         s                                  FOR THE COUNTY OF LOS ANGELES

         6
               IN RE PERSONAL INJURY                                          ) CASE NO.:
         7     COURT ("PI COURT") PROCEDURES,                                 )
         e     CENTRAL DISTRJCT                                               ) STANDING ORDER RE: PERSONAL
               (EFFECTIVE APRJL 16, 2018)                                     ) INJURY PROCEDURES, CENTRAL
         9                                                                    ) DISTRICT

       10                                                                     )
                       ______
                                                                              )
       ll

       12.

       1)                          DEPARTMENT:                                2        3             4           5   7

                                          fiNAL STATlJS CONFERENCE I"FSC''):
       14

       15
                                     •     DATE:                ______                                       AT 10:00 A.M.
       16
                                                                            TRIAL:
       17

       18                             •    DATE: _______ AT8:30A.M.

       lll                       QSC RE DISMISSAL <CODE CJV. PROC. § 583.l1Dl:
      20
                                      •    DATE:                                                             AT 8:30A.M.
      21
                                                                _______




      22               TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:

      23               Pursumt Ia file California Codeor Civil Procedure ("C.C.P. "),tho Calltomla Rules

      24       of   Court ("C.R.C.") and tbe Los A.ogel., County Court Rules ("Loco! Rules"), lho Los

      25       Angel<! Superior Coun ("LASC'' or "Courln) HEREBY AMENDS AND SUPERSEDES
      26       THE AUGUST I O, 2017 SEVENTH AMENDED GENERAL ORDER AND, GENERALLY,

      21       ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL JURJSDICTION

      2B       PERSONAL INJlJ.RY ACTIONS FILED IN THE CENTRAL DISTRJCT.



                                                                          Poge I of8
                                                        . ..
                                           . . . . . , ._.. �   "�.....


                               Standing Order Rc Personal Injury Proccdu.nos, Ccn!nl District
                                                                                  -·····----�   -·       '   -
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 22 of 45 Page ID #:26




                                                                                                      20lS-SJ-BOi-0




           1     1.    To   ensure proper nssignmcnt to n PI Court, Ploinliff{s) must cnrefully fill out the Clvil
           2    Case Covet Shed Addendum (form LAC!V I 09). The Court defines �pe�SCnBI injury" as:

           3           "an unlimited civil case described on the Civil Case Cover Sh..:t Addendum ond

           4           Statement of lM:elion (LACIV 1 09)       as   Motor Vd!icle-P=onal Injury/Property

           5           D!lllUlge!Wrongful Deeth; PCil!Ona! Injury/Property Damage/Wrongful Death·

           6           Uninsured      Motorist;     Product      Liability    (other    !han    asbestos    or

        7              lox.idenviroruncntal); Medical Malpn!Ctice·Physicinns & Surgeons; Olher

        B              Profe:ssional Health Care Malptllttiee; Premises Liability; lntentionnl Bodily

        9              lnjuryiProperty DBmageiWron;fill Dc:arh;         or   Other Personal Injury/Property

       10              OamagcfWrongful Death.          An   nclion for intentional infliction of emotional

       ll              distress, defamation, civil ri&htsldiseriminalion, or malpractice (other than

       12              medi<:al malptatlit:e}, i s not !ocluded i n this definition. An acti on for i njury to

       13              real property is not included in this definition."     (Local Rule 2.3(a)(l )(A).)

       14              Consistent with Local Ru le 2.3(a)(l )(A), the Court will assign a case lo the PI Courts if

       15       plainlifl\s) checlc nny o f the following bo�es i n the Civil Case Cover Sheet Addendum:
       16                          A 7t00 Motor Vehicle       Personal Injury/Property Oamuge!Wmnglill Death

       17                          A 71 1 0 Personal   lnjury/Pmpetty Damase!Wrongful Dcn!h . Uninsured
      18                           Motorist

       lS                          A7260 Product Liability {no! asbestos or toxic/environmental)
      20                           A721 0 Medical Ma!praelic:o       Physicians & Surgeons

      21                           A7240 MediCIII Malpraetice        Other Professional Health Care   Mclpractlte
      22                           A7250 Premise! Liabitlty (e.g., slip end    fwl)
      23                           A7230 Intentional Bodily Injury/Property DamaseJWrongful Dea!h (e.IJ.,

      24                          assaul� vandali"" etc.)

      25                          A7220 Olhcr Personal      Injury/Property Oamage!Wrongfill Death
      26              The Court will not assign cases to the PI Courts ifplaindfl\s) che<k any boxes elsewhere

      27       in lhe Civil Case Cover Sheet Addendum (any boxes on poses two and lhree ofthat form).

      28       /1/



                                                             Page 2 of8

                                Stonding Order Re Personal Injury Procedures, Central District
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 23 of 45 Page ID #:27




           1              The Court set! the above dotes      in this action in the PI Court cin:led obove {Dqlll.rtment

       2        2, 3, 4, 5, or 7) at tbc Spring Street Courthouse, 3 1 2 Nonll Spring Street, Los Angoles, CA 90012.

       3        {CJt.C. Rules 3. 714(b)(3), 3.729.)

       4        FILING OF DOCUMENTS

       5        2.        Pwties n1ay fil e documenls in person at the filing window on llte first lloor oflhe St..nley

       6       Mosk Courthouse ( I l l N. Hill Street, Los An!leles, CA !10012) or by U.S. Moil or •·Delivery,
       7        which is nvllilable online at '"'"''.lqcourt.ory (link on homcpage). Please note that filin�>S an: no

       B        long<r occepted vis facsimile and must be filed either in person, via U.S, moil or via e-Delivery.

       9       Claims involving l!ll anomcy-efienl fee dispute, doeumenlS in which the filing pat1y is • minor,

      10        legally   incompetent person, or person for whom n conservator hilS been oppointed, ""!Uests to

      11       waive court fus (FW-00 1 ) and requests for accommodations by persons with disabilities (MC-

      12       4 1 0}, may not   be filed vis e-Delivery.

      13       SERVICE OF SUMMONS AND COMPLAINT

      14       3.          Plaintiff(s) shall serve the summons a.�d complaint in this &dion upon defend!llll(•) ""
      15       soon ns possible but     n o later than three Years from the date when the complaint is filed.

      16       {C.C.P. § 583.210, subd.{a}.) On lhe OSC             n:   DisrniSSJ�I dole noted above, the   PI   Court will

      17       di!miss the action ond/or e l l unserved parties unless the plaintiff(s) show cause why the action

      1e       or the unserved parties should not be dismissed. (C.C.P. §§ 583.250; SBI, subd. (b)(-4}.}

      19       4.       The Court    ••ts   tl1e above trial and FSC dates on condition that plaintiff(s) e!fectu£te

      20       se.vice o n defendant(s} of the summons and complaint within six months o f filing lhe complainl

      21       5.       Th• PI Court will dismiss the cast without prejudice pursuant to C.C.P. § 5 8 1 wh"" no

      22       pony "llP"""' for trial,

      23       STIPULATIONS T O CONTINUE TRIAL

      24       6.         Provided that all pat1ies   agree (and tl!ete is no violation of the "five-year rule," C.C.P.
      25       § 583.3 10), the parties may advance or continue ll1lY trittl date in ll1< P I Courts without showing

      26       good   cause or llrticuluting any n:JlS<l n o r justification for the chonge. To continue or ad\filnCe a

      27       trial date, the parties {or th eir counsel of record) should jointly execute and •ubmil (at tbe filing

      28       window on the firS! floor of the Stllltlcy Mosk Courthouse, >ia U.S. mail or via c-O eli very; r..,



                                                                Page J ofR

                                   Standing Order Rc Pe"onnl        lnjury Procedures, Central Dis!ri<:t
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 24 of 45 Page ID #:28




           1    required)   • Stipulation to Continue TriAl, FSC and Related Motion/Discovery Oates (fonn

           2    LACfV CTRL-242, available on the court's website; Personal Injury Court link). 1be PI Court!!

           3    schedule FSCs for I 0;00 a.m., eight (8) coon         days before the trial dote. PD11ies •eeking to

           4    continue the trio!   and FSC dates shall file lbe Stipulation ot leost eight court days before the FSC

           5    dote.    Parties seeking lo   ad vanc e the trio! and FSC dotes shall file the Stipulolion al leost eight

           6    court day• b.fore the proposed advanced FSC date. (C.C.l'. § 595.2; Govt Code P0617, subd.

        7       (c)(2).) In selecting n new trial date:, parties should nvoid settins on ony Monday, or the Tuesdny

        B       following • court holiday. Parties may submit a mllllimum of two stipulatioos to continue trial,

        9       for a total r:ontinunnce of six months. Subsequent requests to continue trial will be gtMicd upon

       10       a showing of good      cause   by noticed marion. This rule i• retroactive      so   thAt any previously

       11       granted stipulo.Cion to continue trial will count toward the maximum number of allowed

       12       continuanus.

      13        NO CASE MANAGEMENT CONFERENCES
       14       7.        TI1e PI Courts do net conduct Case Management Conferences. The pnrties need no! file

       15       a    Case Managemeat Statcm<nl.

      16        LAW AND MOTfON

      17        B.       Any da<:umc:nts with daclanrions         and/or exhibits must    be tabbed.      (C.R.C. Rul e

      lB       3. 1 1 10(1).)   All depositions excerpts referenced in briefs must be marked on the transcripts

      19       anached o:s exhibits. (C.R..C. Rule 3.1 1 16(c),)

      20       CHAMBERS COPIES              REQUIRED

      21       9.        In •ddilion Co filing original motion papers at the filing window on !he lir.;t floor of the

      22       Stanley Mo•k Courthouse, via U.S. mall or vio         e-Delivery, the parues must deliver, directly to
      23       the PI Court courtrooms ot the Spring Street Courthouse, o.n exlnl copy (mnrked "Chambers

      24       Copy'') of reply briefs and nll other motion papers filed less !han seven (7) court doys before        •


      25       h<aring calend11red    in !he PJ Courts. The PI Courts also strongly encournge the pnrties filing and
      26       opposing lengthy motions, such as motions for summery judgmentledjudicnlion, to submit one

      27       or rnore three-ring binders org1111mnc: the c:ilambers copy behind tabs.

      29       Iii



                                                               Pagc 4 of8

                                   Stnnding Order Re Pcnanal Injury Procedures, Central District
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 25 of 45 Page ID #:29




           1    RESERVATION HEARING DATE

           2    10.     Pllrties an: directed to reurve hearing dlltes for motions in the PI Courts using the Court

       3        ResetVI!Iion System (CRS ) available       online at Jl:'l"•.lacollrt.org (link on homepag<�). After

       4        reserving a motion hearing date, the reservation requestor must submit the papers for filing with

       5        the reservation receipt (CRS) number printed on the foc:c page of!he document under Ike e11plion

           6    end attach tlte reservation receipt os the lasl page. Parties or collJ15tl whc 8Il' unable 10 util ize

       7        the online CRS may t'<$ervt • motion heating date by calling lhc PI Court cou:ruoom, Monday

       e        through Friday, between 3:00 p.m. and 4:00 p.m.

       9        WITHDRAWAL OFMOTIONS

      10        I I.    California Rules of Courl, Rule      3.1 3D4(b) reJjuires   n moving     party to notil'y   the court

      ll        immediately if a molter will not be heard on     the scheduled date. In keeping with thai rule, the PI

      12        Courts urge parties whc runend pleadings in ,...ponse to demurrer.; to file run ended pludings

      13       before the date    when opposition lo the demurrer ;, due so that the PI Courts do not needlessly

      1q       pn:pare tt:nletive rulings on dcrnurrcns.

      15       DISCOVERY MOTIONS

      16        12.     'The pUIJlOSC o f 1111 lnfonnnl Discovery Confcmce ("IDC") is t o assist            the pBrlies   to

      17       resolve endlor narcow the scopco fdiscovcry disputc:s. Lead trial counsel on <ilch side, or another

      1B       anorney wiill full authority to make binding agrccmcnls, must attend in person. The PI judges

      19       have found that,    in nearly every case, the parties amicably r=lve disputes with the essistancc

      20       of the Court.

      21       13.     PBrlii:S must participate in an IDC before         e   Motion   10 Compel Funher Responses to
      22       Disccvery will be hurd unless the moving p11S1y submits evidence, by way of declllflltion, thar

      23       the oppa.ing party has miled or refused lo      particip ate in an IDC. Scheduling or participating in
      24       en IOC does nol automatically extend any deadlines imposed by lhe Code of Civil Pnocedure for

      25       noticing and filing discovery motions. Ideally, the parties should participate in 1111 !DC befim: e

      26       motion is filed   beasuse lhc iDC may avoid the nece<sity of a motion or reduce its scope. Because

      27       o f that possibility, auomeys are !!llCOU!l!ged to stipulate t o cxtt:r�d   the 45 (or 60) day deadline for
      26       filing • motion to compel futlher diswvery responses in order to allow time to participate in an



                                                              Page 5 of8

                                  Standing Order Re Personal !JYury Procedures, Centrul District
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 26 of 45 Page ID #:30




                                                                                                               2016- SJ-007-0




        1        IDC.
       2                    If ponies do not stipulnte to extend the deadlines, the movins party may file the motion
       3         to avoid it being deemed unlirncly.             How�ver, the IDC must take place before the m<>tion is

        �        hesrrl .w it is suggested tho! the moving pa11y �rve a dale for the motion lu!aring that is at least
       5         60 days nfler the date when the lDC reservation is mJidc. Motions to Compel Further Discovery

       6         Response> nrc heanl at          10:00 a.m.   If the !DC is not produdive, lhe moving pB11y may advlllltc

       7         !he hearing on      c   Motion to Compel further Discovery Responses on any n\'l!ilable heruing date

       a        Utat complies with the notice requin:mtniS oflhe Code             of Ci vi l Procedure.

       9         14.       Parties are dire<: ted to reserve !DC dates in the PI Courts using CRS nvoilable online at

      10         www,lncoun.orn (link on            homepagc). Parties are to mcet ll!d confer n:gsrding the ev•ilable
      11        detes in CRS prior lo ac=sing the system                .   After n:sciVing the !DC dale, the reservation

      12        requestor must        file in   the appropriate depl!ttment nnd serve l1!l lnfonnal Discovery Conference

      13        Fonn fu.- l'ersonsl lnjury Courts, rrom LAC IV 239 (revised 12114 or truer), nt lta.st 1 5 court dnys

      14        prior     to the   conferenco    end   atloc!t the CRS reservation r=eipt   ns the IMt page. The opposing

      15        party may file IU'ld serve a responsive !DC form, briefly setting forth llml pany's =pon<e, at

      16        least 1 0 coun days prior lo tht iDC.

      l7        t 5.       Time permlt!lns, the PI Hub judges may be avelleble to participate in lDCs to try to

      19        resolve othor typcs of di!covcry disputes,

      19        EX I"ARTE APPLICATIONS

      20        16.        Under lhe California Rules of Court, courts may only IJ!'Il!ll            ex   parte relief upon   a
      21        showing, by artrnisslble evidence, !hot             lhe moving     party   will   suffer ·�rreparab!e    brum,�

      22    .   "immediete dungcr," or where the moving party identifies "• statutory bGSis for grontlng n::lief

      23        e:rt   plll1e." (C.R.C, Rule 3.1202(c).) The PI Co urts hove no capacity t o hear multiple              ex parte


      24        epplicntions or to shor!en time t o add         hearings to their fully hooked motion e.1icndars.        Tite Pl

      25        Courts     do nol regord tl>e      Court's unavailability for timely motion hearings        as tm   �immediote
      26        dengtr" or threat of "inepB11!blc hurm"' justifYing a porte rdief. Instead of sccking e.r parte

      27        relief,   the moving party should reserve the        eor!its1 oVl!i!oble motion hearing date (even if it is

      2B        after the scheduled trial dale) and should file o motion lo continue trial. Parties should nlso cheek




                                                                    Page u t�f8

                                      Standing Order      Re Personal   Injury Procedures, Cen!n!l District
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 27 of 45 Page ID #:31




                                                                                                         201 6-SJ-001 - 0




             1   the Cout1 Reservation System from time lo lime because earlier hetiring dales may beromc

         2       nvniloble as cosc:s setllo or hearings ore wkon olf calendar.

         3        REQUEST FOR TRANSFER TO INDEPENDENT CALENDAR DEPARTMENT

             4    1 7.        Forties seeking to transfu o case from a PI   Court to an Independent Calendar ("l/C')

         5       Court shall file (at !he fil ing window on the first Door of !he Stanley Mask Courthouse, via U.S.

         6        mDII   or   via c-Delivcry) and i<rrVe lbe Court's "Motion 10 T1111l5fet Compli<lltcd Personol lnjury

         7       Cese lo Independent Calendnr Court" (fonn LACIV 238, availnble on the Coun's website under

         8       tho PI Courts link).        The PI Courts will ln!nsfer a matter ID an 1/C Couct if the cose is not a

         9       "Personol lnjury'' case as defined in this Order, orifil is "compli<ated." In determining whether

       10        • personnl      injury   case is "complicated" tlte PI Courts   wi ll consider, omong other   thinjlS, the

       11        number of pretrial hearings or lhe complexity o f issur:s presented.

       12         18.         Parties opposing s motion I<> tnutsfer have live court days to file (at the filing window

       13        on the first floor o fthe Stanley Mosk Courthouse, via U.S. moil or via •·Delivery) nn Opposition

       14        (using the same I..ACIV 238 Molion to Trusfer fonn).

       l5         19.     The PI Courts will not condutl a hearing on any Motion to Tnmsfer to 1/C Court.

       16        Although the parties mny stipolate to ln!nsfcr a esse to an lndependenl Calender Depor1mcn� the

       17        PI Courts will make an independent delcrminntion whether to lnlnSfer the case or nol

       19        FINAL STATUS CONFERENCE

      19          20.     Parties shell comply •vith the requiremenls of the P I Courts' "First Amendr:d Standing

      20         Order Rc Final      Sta!Us Conference," which shell be served with the summons and complaint.

      21         JURY FEES

      22         21.      PS!1ies must pay jury fees no Ieier then 36� enlendar days afler the filing of the initial

      23         complninL {C. C. P. § 63 1 , subds. (b} and (c).)

      24         JURY TRlALS

      25         22.      The PI Courts do not conduct jury trials. On !he trial date n PI Court will coniB<t the
                                                                                          ,




      26         Mll!ter Calendar     Court, Dcpartmonl One, in the Stanley Mosk Conrthouse. !Jepor1menl One
      27         will assign eases out for trial to dedicoled Civil Triol        Cr>urtrooms and designated Criminnl

      2 tl       Counrooms:.




                                                                Page 7 of8

                                      SI.Bnding Order Re Personal Injury Procedun:s, Ccntra.l District
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 28 of 45 Page ID #:32




                                                                                                   2018-SJ-007 0  ..




           1   SANCTIONS

           2   23.      The Cour1   has di5CTC!ion Ia impose sanctions for any violation of this genctal order.
           3   (C.C.P. §§ 1 28.7, 187 and Gov. Code, § 68608, subd. (h}.)

           4




                            ('J Jf,,7-0 /'6
           5

           6   Pated:   0
           i                                                   Debre K. Welnllaub
                                                               Supervising ludsc of Civil Courts
           a                                                   Lo• Anj:eles Superior Cour1
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                             Slsnding Order Re Personal      Injury Procedures, Cen!Ial District
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 29 of 45 Page ID #:33




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          2                                                                   Supo:lof c:oun or Cdlomls
                                                                                Counly of l.JJa �as
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                                      SUPERIOR COURT OF THE STATE OF CAUFORNIA

                                 FOR THE COUNlY OF LOS ANGElES - CENTRAL DISTRICT

         10
                   In re Pen;onal lnjury Casas Assigned                FIRST AMENDED STANDING ORDER ­
         11        To !he Pen;onal lnjury Courts                       RE: ANAL STATUS CONFERENCE.
                   {Departments 2, 3, 4. 5 and 7 of lha Spring         PERSONAL INJURY ("PJ") COURTS
         12        S treet Courthouse)                                 (Elfecl!ve as of April 16, 2018)


         !3 11    ------


         ��

         1S       The dales for Trial and Final Status Conlerence ("FSC") having been set In lhls maHer. the
         ••        Collrt HEREBY AMENDS AND SUPERSEDES ITS JAN UARY 2, 2018 STANDING

         17       ORDER-RE: FINAL STATUS CONFERENCE, PERSONAL INJURY ("PI") COURTS

         ••       AND, GENERALLY, ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL

         19       J URISDICllON PERSONAL INJURY ACllONS:



        21                1.     PURPOSE OF THE FSC

        22               The purpose of lhe FSC is lo verify !hat the parties/counsel           are   complelefy ready lo
        23        proceed with lrlal continuously and efficlanUy, from day to day, untll verdict. Tha PI Courts

        2�        will verify at tile FSC lhal all parUes/counsel have (1) prepared the ExhlbH binders and Trial

        ?5        Document binders and (2) mel and conferred In an effort to stlpulale to ultfmate faclti, legal

        26        Issues, moUons In limine. and the aulhenllcatlon and admissibility of exhlbHs.

        21        Ill

        :re       Ill
                                                               l'age 1 or s

              1   FIRST A!<ENDED ORDER RE FINAL STATIJS CONFERENCe, PffRSOIW. INJURY COURTS {EffedNo Aj)tll 16, 10161
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 30 of 45 Page ID #:34




                      2.     TRIAL DOCUMENTS TO BE FILED

                      At least live calendar days prior to the Ana! Status Conference. the parties/cou
                                                                                                      nsel
          2

               shaU serve and rue (In Room 102 or lhe Stanley Mosk Courthouse or by e-Oetivery)
                                                                                                the
          J

          •    following Tllal Readiness Documents:

          5                  A.        TRIAL BRIEFS (OPTIONAL)

                              Each party/counsel may file, but Is not required to file. a trial brief succtncUy

          .,   ideoUfYlng:

          8                   (1) the claims and delenses subject tc llllgalion;
          9                   (2) the majorlegal l55ues (wllh suppol11 ng   points and authorities);
         10                  (3) 1he relief claimed and calculation of damages sought; and
         11                  (4) any other lnfonnallon 1hal may asslst lhe court al trial.

         12                   B.       MOTIONS IN UMINE

         13                  Before llling motiOns In limine, the pa J11es/counsel shall comply with the

         t•    statulol)l noUce    proviSions of Code of Civil Procedure ("C.C.P .") Section 1 005 and the
         16    requirements of los Angeles County Court Rule ("Local        Rule") 3.57(a).   The caption of each
         16    motion In limine 6hall concisely Identify the eVIdence thai the moving party seeks lo

         11    preclude. Pal11es filing more than one motion In Umloo shall number them consacullvely.

         oe    Pel11es llllng opposition and reply papers shell ldenllfy 1he COITespondlng mol!on number ln

         1D    the caption of their papers.

        2tl                  C.        JOINT STATEMENT TO BE READ TO THE JURY

         21                  For jury trials. the parties/counsel shall work together to prepare and rna a joint

        22     written statement of the ca&e for the court lo read to the jury. Local Rule 3.25(g)(4).

         <3                  0.        JOINT WITNESS UST

        2<                   The paJ11es/counset shal work together t o ptapare and file a Joint fist or an

        25     witnesses In alphabetical    order by last name that each party Intends to call (excluding
        26     Impeachment and rebuttal witnesses). Local Rule 3.25(g)(5). The joint witness Hst shall

        21     Identify each witnes s by name, sp ecify which witnesses ere experls, and estimate the leng

        za     of the direct. cross examlnaUon and re-diracf examination (If any) or e ach witness.     The
                                                             Pave 2of5


               FIRST AMENDED ORDER RE ANAl STATUS CONFERENCE, PERSONA!. INJURY COURTS {EIJodolu A;><11 16, 2018)
------- --                                                                                                             -- -----   -


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           1   parties/counsel shall Identify all potential witness scheduling Issues and special

           2   requirements. Any party/counsel who seek& to eUcll tesllmony from a witness not ldentlfled

           ,   on the witness Ust must lltst make a showing of good cause to the trlal court.

           •                  E.      UST OF PROPOSED JURY INSTRUCTION S

           5                          (JOINT AND CONTESTED)

           •                  The parties/counsel shall jolnUy prepare and lila a lisl of proposed jury

           1    lnslnldlons. o�ganlzed In numerical order, specifying the Instructions upon 111'hlch all sides

           a   agl'E!<l and the contested Instructions, If any. The List of Proposed Jury lnslructlons musl

           e   Include a space by eadl lnstructlon for lhe judge to Indicate whether the lnstrucllon was

          10   gl•en.

          11                   F.     JURY INSTRUCnONS

          12                          {JOINT AND CONTESTED)

          13                  The par!!es/counsel shall prepare a complete set of full-text proposed jury

          H    Instructions, editing all proposed Callfomla CMI Jury lnstrucUons       ("CACI"J and Insert party
          15   nama{s) and eBmlnale blanks and lrrelev.mt material. The parties/counsel shall prepare

          16   spedal lnslrucllons In a formal ready for submission to the jury wllh the lnslrucl!on number,

          11   UUe, and text only (I.e., there should be no boxes or other Indication on the printed
          1s   Instruction ltselr as to the requesUng party).

          10                  G.      JOINT VERDICT FORM(S)

         20                   The parties/counsel shaU prepare and jolnUy file a proposed general verdict
         21    form or speciaf verdict form (with interrogatories) acceptable to all sides. local Rule

         22    3.25(g)(8). If the parUes/wunsel cannot agree on a jolnt verdict !onn , eadl party must

         23    separately file a proposed venllct form.

         24                   H.     JOINT EXHIBIT liST

         25                   The parties/counsel shall prepare and roo a jolnl eXhlb� list organized with

         26    columns ldenUfyfng each exhibit and specifying each party's evklenllary objedlons, if any, t

         <7    admission of each exhlbiL The parties/counsel shall meel and confer In an effort to resolve

         2e    objections to the admissibility of each exhlbH.
                                                             PeiJo 3 cl 5


               FIRST AMENilf:D ORDEF! RE FINAL STAl\JS CONFERENCE. PERSONAl INJURY COURTS (Efle<IMI Aptll l&. 21l1BJ
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 32 of 45 Page ID #:36




                                  I.     PAGE AND UNE DESIGNAnON FOR

          2                              DEPOSmON AND FORMER TESTIMONY

             3                    If the partlealcounsel lnlend to use deposlllon testimony or former Ilia!

             4    testimony In lieu of any witness's live tesllmony, the parties/counsel shaD meet and confer
             5    and jointly prepare and file a chart with columns for each of the following: 1 ) the line and
          e       page designations of the deposition or former tesUmony requested for use. 2) objections.
             7    3) counler-<leslgnatlons, 4) any rasponws thereto, and 5) the Court's ruling.

             e           3.       EVIDENTIARY EXHIBITS

          G              The parties/counsel shaH j olnUy prepare (and be ready to temporarily lodge for

         10       Inspection at the FSC) three sals of tabbed, 1nlemally paginated by documen� and properly
         11       marked exhtblls, organized numerically In lhree-ring binders (a set for the Court, the Judicial
         12       Asslstanl and t ile witnesses). The parties/counsel shaM mark aH non-documentary exhibits

         t3       and Insert a simple Wlilten description of the e�hlblt behind the corresponding numerical tab

         t4       In the exhibit binder. If the partie s have a jolol slgned exhibit list and electronic copies of

         15       their respective exhlblls, lhen the partlealcounsel wiH not be nequlred to produce e<hlbH

         16      binders al tha FSC. However, the axhlblt binders may be required by the assigned trial

        11       judge when the Ilia! commences. In the absence of either a joint signed exhlbK Hst or
         18      electronic copies, exhibit binders will be required by all partleslcounsel at the FSC.

        1&              4.        TRIAL BINDERS REQUIRED IN THE PI COURTS

        20              The parties/counsel shall jointly pmpam (and be ready to temporarily lodge and

        21       Include the fo!!owlng for inspection at the FSC) lha Trial Documents consisting of confonned
        22       copies, tabbed and orgartlzed Into lhreo·ting binders wilh a table of contents that Includes

        ZJ       lhe following:

        24              Tab A:          Trial Briefs (Optional)

        25              Teb B:          Motions In Umlne
        211             Tab C:          Joint Stalement lo Be Read to th e Jury

        27              Tab D:          Joint Witness Ust
        2e       Ill

                                                              Page4 ofS


                 FIRST AMENDBJ ORDER RE FINAl. STAlUS CONFERENCE. PERSONAl INJURY COURTS (EWetlml A!n11 16, 21>18)
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 33 of 45 Page ID #:37




                         Tab E:        Joint Us! of Jl.vy lnstrucllons (Identifying the agreed upon and

             2    contested lnslructlons)

             3           Tab F:        Joint and Contested Jury lnstrucllons

                         Tab G:        Joint end/or Contested Venllct Form(s)

             5           Tab H:        Joint Exhibit Ust

                         Tab 1:        Joint Chart of Page and Line Oeslgnatlon(s) lor Deposlllon and Former

             1    Testimony

             8           Tab J:        Cl:!ples or the Cum!nt Operative Pleadings (Including !he ciperatlve

             s    complaint, answer, oross·complalnt, tr any, and answer to any cross-complaint).

         10              The parties/counsel shall organize mallons In Dmlne (tabbed In numerical order)

         11       behind Tab B Wllh the opposition papers and reply paper.� for each mollon placed directly

         12       behind !he moving papers. The parties shaH organize proposed jury lnstrucllons behind
         13       Tab F, Wllh the aQilled upon lnslrucllons first In order followed by the contested Instructions

         14       (Including special Instructions) submitted by eacll side.

         15              5.       FAILURE TO COMPLY WITH FSC OBUGAllONS

         18             The court has discretion to require any party/counsel who falls or refuses to comply

         17      Wllh this Amended Standing Orrler to show cause why tha Court should not Impose

         1a      monetary, evfdenliary and/or Issue sanctions (Including the entry or a default or the striking

         19      of an answer).

         20




                                                              {l.Unq f{ u_kld!tmuk
                                                            Debra K. Welntrauti
                                                           Supervising Judge, Civil
        24                                                 Los Angeles Superior Court




        28




                 FIRST AMENOEO ORDER RE FINAL STAniS CONFERENCE, PERSONAL INJURY COURTS fEll-• Apr11 1G, 201e1
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 34 of 45 Page ID #:38




                              Superior Court of California, County of Los Angeles


                                      ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                             INFORMATION PACKAGE
      THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.


      CROSS.COMPLAINANTS must serve this                   ADR Information Package on any new parties named to the action
      with the cross-complalnt.


    What ls ADR?
    AOR helps people find solutions to thel< legal disputes without fiCin& to trial. The main types of ADR are nqotlatlon,
    medliltlon, arbitration and settlement conferences. When ADR Is done by phone or computer, It may be called Online
    O�pute Resolution (OOR). These "alternatives" to Uttgatlon and trial are described below.


    Advantases qf AOR
          •
               Saves Time: ADR Is faster than golna to trial.
          •
               Saves Money: Parties can save on court cosr.sf attorney's fees and witness fees.
          •
               Keeps Control with the parties: Parties choose their AOR process and provider for voluntary ADR.
          •    Reduces stren/PfOtects privacy: ADR Is done outside the courtroom, ln private offices. by phone or online.


    Pfsady;mtases of ADR
         •
               Costs: If the parties do not resolve their dispute. they may have to pay lor ADR and llttsatlon and trial.
          •    No Public Trial: ADR does not provide • public trial or a decision by a judse or jury.


    Main Types of ADR:

          1.   Negotl�tlon: Parties often talk with each other in person. or by phone or online about resolving their case with a
               settlement asreement Instead of a trial. If the parties halh!! lawyers, they will negotiate lor their d!ents.

          z. Mediation: in mediation, a neutral "medlator" llstens to each pe150n's concerns, helps them evaluate the
               strengths and weaknesses of their case� and works wllh them to try to create a settlement qreement that is
               acceptable to all. Mediate,. do not decide L�e outcome. Parties may go to trial If they decide not to settle.

                          Mediation may be appropriate when the parties
                                •want to work out a solution but need help from a neutral person.
                            •    have communication problems or strong emotions that Interfere wlth resolution.
                          Mediation may not be appropriate when the parties
                               •     want a public trial and want a judge or jury to decide the outcome.
                                •    lack equal barsalnlng power or have a history of physical/emotional abuse.

                                                                                                                            lASCl
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    For ManctltOlYUS<t
    c•llfotnta JWkl ot Coun, ru!e 3.1.21
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 35 of 45 Page ID #:39




                                                  How to arranae mediation In Los Anpla County
          Mediation for eMI cases Is voluntary and parties may select any mediator they wish. Options Include:


                     a.    Th• CMI Medllotlon Vendor Resource Ust
                             Parties mav con!Kt these orsanlzatlOns to fe11ues1 a "Resource List Mediation• for reduced-eon or
                                       free (for selected cases) mediation In person or with OOR (by phone or online).

                           •   JAMS, Inc.: case Mana1er (213) 253-9776 mdawsgn@iamsaclr.cpm
                           •   Mediation Center of Los Anseles: case Man111er. (833) 476-!1145     lnfo§meclla!lonLA.orl

                     These orpnlzatlons cannot accept every cue and thev may decline cases at their. discretion.
                           Visit www.lacourt.org/ADR.Res.Ust for lmponant Information and fAQs l!lflz!!. contactll18 them.
                           NOT£: This service Is ngt available for famHv (aw. problte or 1!!1!111cialms.


                     b.    Los Ansalu County Dllf'Uie Resolution Pnosrams
                           https:/lwdacs.lag>unty.sov/orosrams/dro/
                               •   Free, day· of- trt.al mediations a the courthouse for small claims, unlawful detalners (evictions)
                                   and, at the Stanlay Mosk Courthouse, 11m•ed civil. No appointment needed      .


                               •   Free or low-eost mediations lllfm the day of trial for these and other case types.
                               •   For ODR by phone or computer for smallclaims or unlawful detainer (eviction) cases l!!I2!! the
                                   day of trial, visit
                                   http:Uwww.iacoort.orp.ldivision/smallc!alms/pdf/OnlineOisputeResolutlcnF\ver·EngSpa n.ndf


                     c.    Mediators and ADR and Bar orwanlzatlons that provide mediation may be found on the Internet.




           3,   Arbitration: Arbitration is less format than trial, bul llke trial, t he parties present evidence and arguments to the
                person who decides the outcome. In "'binding" iHbltriltlon* the arbitrator's dedsion is final; there is   no    right to
                trial. In "'nonbindlng" arb!tration, any party can request a trial after the arbitrator's dec:lsion. For more
                Information about arbltratkin, visit http:ljwww.courts.ca.gov/programs..adr.htm


          4.    Mandatory Settlement Coolerences (MSC): MSCs are ordered by the Court and are often held close to the trial
                date. The parties and their attorneys meet with a fudge or settlement offker who does not make a decision            but
                assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a settlement.
                For information aboua the Covrt's MSC programs for civil cases, vlsit: www.iacourt�org/division/civil/settlement




    los Angeles SUperior Court ADR website:  �.:Ja<:ourt.ort/division/c.ivd/setdemen_�
    For general lnformatJon and videos about ADR. vts.lt �Up_:f/www.courts.ca.gov[p_��f_am�hHir.htm




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                                                                                         Codnty of Los Anceles



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   5
                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
   6
                                         FOR THE COUNTY OF LOS ANGELES
   7

   8   IN RE LOS ANGELES SUPERIOR COURT )                     FIRST AMENDED GENERAL ORDER
       - MANDATORY ELECTRONIC FILING )
   9   FOR CIVIL                        )
                                        )
  10                                    )

  11   1 -->--

  12           On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all

  13   documents i n Limited Civil cases by litigants represented by attorneys. On January 2 . 2019, the Los

  14   Angeles County Superior Court mandated electronic filing o f all documents filed i n Non-Complex

  15   Unlimited Civil cases b y litigants represented b y attorneys. (California Rules of Court, rule 2.253(b).)

  16   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the

  17   following:

  18   I ) DEFINmONS

  19      a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to

  20           quickly locate and navigate to a designated point of interest within a document.

  21      b)   '   'Efil ing Portal" Th e official court website includes a webpage, referred to as the efiling

  22           portal, that gives litigants access to the approved Electronic Filing Service Providers.

  23      c) ''Electronic Envelope" A transaction through the electronic service provider for submission

  24           of documents to the Court for processing which may contain one or more PDF documents

  25           attached.

  26      d) ''Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a

  27           document in electronic form. (California Rules of Court, rule 2.250(b)(7).)

  28



                            FlRST AMENDED GENERAL ORDER RE MANDATORY Et.ECTRONIC FlUNG FOR OVIL
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 37 of 45 Page ID #:41

                                                                                                     2019-GEN-01 4-00




         e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a

  2           person or entity that receives an electronic filing from a party for retransmission to the Court.

   3          In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an

  4           agent of the Court. (California Rules of Court, rule 2.250(b)(8).)

   5     f)   "Electronic Signature" For purposes of these local rules and in conformity with Code of

   6          Civil Procedure section 17, subdivision (b)(3), section 34, and section 1 0 1 0.6, subdivision

   7          (b)(2), Government Code section 6 8 1 50, subdivision {g), and California Rules of Court, rule

   8          2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or

   9          process attached to or logically associated with an electronic record and executed or adopted

  10          by a person with the intent to sign the electronic record.

  II     g) "Hyperllnk" An electronic link providing direct access from one distinctively marked place

  12          in a hypertext or hypermedia document to another in the same or different document.

  13     h) "Portable Document Format" A digital document format that preserves all fonts,

  14          formatting, colors and graphics of the original source document, regardless of tbe application

  15          platform used.

  16   2) MANDATORY ELECTRONIC FILING

  17     a) Trial Court Records

  18          Pursuant to Government Code section 68 1 50, trial court records may be created, maintained,

  19          and preserved in electronic format. Any document that the Court receives electronically must

  20          be clerically processed and must satisfy all legal filing requirements in order to be filed as an

  21          official court record (California Rules of Court, rules 2 . 1 00, et seq. and 2.253(b)(6)).

  22     b) Represented Litigants

  23          Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to

  24          electronically file documents with the Court through an approved EFSP.

  25     c) Public Notice

  26          The Court has issued a Public Notice with effective dates the Court required parties to
  27          electronically file documents through one or more approved EFSPs. Public Notices containing
  28          effective dates and the list of EFSPs are available on the Court's website, at www.lacoun.org.


                        ARST AMENDED GENERAL ORDER RE MANOA1URY ELECffiONIC ALING FOR CIVIL
Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 38 of 45 Page ID #:42


                                                                                                      2019-GEN·Ol4·00




            d) Documents in Related Cases

   2             Documents in related cases must be electronically filed in the eFiling portal for that case type if

   3             electronic filing has been implemented in that case type, regardless of whether the case has

   4             been related to a Civil case.

   5   3) EXEMPT LITIGANTS

   6        a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt

   7             from mandatory electronic filing requirements.

   8        b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of

   9             Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused

  I0             from filing documents electronically and be permitted to file documents by conventional

  I1             means if the party shows undue hardship or significant prejudice.

  12   4) EXEMPT Fll..INGS

  13        a)   The following documents shall not be filed electronically:

  14             i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of

  15                    Civil Procedure sections 1 70.6 or 170.3;

  16             ii)    Bonds/Undertaking documents;

  17             iii)   Trial and Evidentiary Hearing Exhibits

  18             iv)    Any ex parte application that is filed concurrently with a new complaint including those

  19                    that will be handled b y a Writs and Receivers department in the Mosk courthouse; and

  20             v)     Documents submitted conditionally under seal. The actual motion or application shall be

  21                    electronically filed. A courtesy copy of tbe electronically filed motion or application to

  22                    submit documents conditionally under seal must be provided with the documents

  23                    submitted conditionally under seal.

  24        b) Lodgments

  25             Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in

  26   paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.

  27   //

  28   //



                            FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                                     2019-GEN-014-00




   1   5)   ELECTRONIC FILING SYSTEM WORKING PROCEDURES

   2        Electronic filing service providers must obtain and manage registration information for persons

   3        and entities electronically filing with the court.

   4   6) TECHNICAL REQUlREMENTS

   5        a)   Electronic documents must be electronically flied in PDF, text searchable format when

   6             technologically feasible without impairment of !he document's image.

   7        b) The table of contents for any filing must be bookmarked.

   8        c) Electronic documents, including but not limited to, declarations, proofs of service, and

   9             exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule

  10             3 . 1 1 10(f)(4). Electronic bookmarks must include Jinks to the first page of each bookmarked

  II             item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the

  12             bookedmarked item and briefly describe the item.

  13        d ) Attachments to primary documents must be bookmarked. Examples include, but are not

  14             limited to, the following:

  15             i)     Depositions;

  16             ii)    Declarations;

  17             iii)   Exhibits (including exhibits to declarations);

  18             iv)    Transcripts (including excerpts within transcripts);

  19             v)     Points and Authorities;

  20             vi)    Citations; and

  21             vii)   S upporting Briefs.

  22        e) Use of hyperlinks within documents (including attachments and exhibits) is strongly

  23             encouraged.

  24        f)   Accompanying Documents

  25             Each document acompanying a single pleading must be e lectronically filed     as a separate
  26             digital PDF document.

  27        g) M ultiple Documents

  28             Multiple documents relating to one case can be uploaded in one envelope transaction.


                            FIRST AMENDED GENERAI.OII.DER RE MANDATORY EI.EC'!RONIC FlUNG FOR CIVIl.
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                                                                                                     2019-0EN-014-00




         h) Writs and Abstracts

   2          Writs and Abstracts must be submitted as a separate electronic envelope.

   3     i)   Sealed Documents

   4          If and when a judicial officer orders documents to be filed under seal, those documents must be

   5          filed electronically (unless exempted under paragraph 4); the burden of accurately designating

   6          the documents as sealed at the time of electronic submission is the submitting party's

   7          responsibility.

   8     j)   Redaction

   9          Pursuant to California Rules of Court, rule 1 .20 1 , it is the submitting party's responsibility to

  10          redact confidential information (such as using initials for names of minors, using the last four

  II          digits of a social security number, and using the year for date of birth) so that the information

  12          shall not be publicly displayed.

  13   7) ELECTRONIC Fll..ING SCHEDULE

  14     a) Filed Date

  15          i)   Any document received electrOnically by the court between 12:00 am and 1 1 :59:59 pm

  16               shall be deemed to have been effectively filed on that court day if accepted for filing. Any

  17               document received electronically on a non-court day, is deemed to have been effectively

  18               filed on the next court day if accepted.   (California Rules of Court, rule 2.253(b)(6); Code

  19               Civ. Proc. § 1 0 10.6(b)(3).)

  20          ii) Notwithstanding any other provision of this order, if a digital document is not filed in due

  21               course because of: ( I ) an interruption in service; (2) a transmission error that is not the

  22               fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may

  23               order, either on its own motion or by noticed motion submitted with a declaration for Court

  24               consideration, that the document be deemed flied and/or that the document's filing date

  25               conform to the attempted transmission date.

  26   8) EX PARTE APPLICATIONS

  27     a)   Ex parte applications and all documents in support thereof must be electronically filed no later

  28          than 10:00 a.m. the court day � the ex parte hearing.


                          FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FlUNG FOR CIVIL
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                                                                                                 2019-GEN-0 14-00




         b) Any wriuen opposition to an ex parte application must be electronically filed by 8:30 a.m. the

   2        day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte

   3        application must be provided to the court the day of the ex parte hearing.

   4   9) PRINTED COURTESY COPIES

   5     a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must

   6        be delivered to the courtroom by 4:30 p.m. tbe same business day the document is efiled. If

   7        the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom

   8        by I 0:00 a.m. the next business day.

   9     b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
  I0        electronic submission) is required for the following documents:

  11         i)   Any printed document required pursuant to a Standing or General Order;

  12        ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26

  13              pages o r more;

  14       iii)   Pleadings and motions that include points and authorities;

  IS        iv)   Demurrers ;

  16        v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425. 16;

  17        vi)   Motions for Summary Judgment/Adjudication; and

  18       vii)   Motions to Compel Further Discovery.

  19     c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of

  20        additional documents. Courtroom specific courtesy copy guidelines can be found at

  21         www.lacourt.org on the Civil webpage under "Courtroom Information."

  22   0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS

  23     a) Fees and costs associated with electronic filing must be waived for any litigant who has

  24         received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.2S8(b), Code Civ. Proc. §

  25         1 010.6(d)(2).)

  26     b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure

  27         section 1 0 1 0.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be

  28         electronically filed in any authorized action or proceeding.


                       FIRST AMENDED GENERAL ORDER RE MANDATORY El..ECTRON!C FlUNG FOR CIVIL
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                                                                                                 201 9-GEN-0 14.00




       I ) SIGNATURES ON ELECTRONIC FILING

   2      For purposes of this General Order, all electronic fi lings must be in compliance with California

   3      Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil

   4      Division of the Los Angeles County Superior Court.

   5

   6          This First Amended General Order supersedes any previous order related to electronic filing,

   7   and is effective immediately, and is to remain in effect until otherwise ordered by the Civil

   8   SupeiVising Judge and/or Presiding Judge.

   9

  10   DATED: May 3, 2019
                                                            KEVIN C. BRAZU..E
  II
                                                            Presiding Judge
  12

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                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FlUNG FOR
                                                                                               OVIL
    Case 2:19-cv-10865-MWF-AS Document 1-1 Filed 12/24/19 Page 43 of 45 Page ID #:47


                                                                                                                                                                                                  CIV-050
                                   DO NOT FILE WITH THE COURT·
     -UNLESS YOU ARE APPLYING FOR A DEFAULT JUDGMENT UNDER CODE OF CNIL PROCEDURE § 585
                                                                          •


                                                                                                                                                                                                       •




    A'll'ORNlY Of� PARTY WITHOUT ATTORNEY (NameaodAddrossJ                                                         TELEPHONE NO                                   FOOR COURT USE ONL Y

     Philip L. Marchiondo, Esq. (SBN 1 2994 7)                                                                 ( 3 1 0)364-5248
     THE MERlDlAN LAW GROUP
     222 N. Pacific Coast Highway, 20th Floor
     El Segundo. CA 90245
       ATTORNEY FOR (name; PlaimitT Tramell Davis
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
     STREET ADDRESS I I I N. Hill Street
         MAIU�G ADDRESS

         CITY AND ZIP CODE        Los Angeles, CA 900 1 2
               BRANCH NAME        Central District - Stanley Mosk
                               TRAMELL DAVIS
'
              PLAINTIFF
         DEFENDANT             T l ! E GEO GROUP, INC.
                                                                                                                                             C.-4SE NUMBER
                                                 STATEMENT OF DAMAGES
                                          (Personal Injury or Wrongful Death)                                                                                    1 9STCV205 1 4

    To (name of one defendant only): The Geo Group, Inc.
    Plaintiff (name of one plaintiff only): Tramell                             Davis
    seeks damages in the above-entitled adion, as follows:
                                                                                                                                                                                      AMOUNT
    1. General damages
         a.   UJ        Pain, suffering, and inconvenience                                                                                                                     $ I 00,000.00
         b.   ClJ       Emotional distress .                                                                                                                                $ I 00,000.00

         c.   I     I   Loss of consortium . .                                                                                                                                 s ______
         d.   CJ        Loss of sociey and companionship (wrongful death actions only)                                                                                         $   __             _



         e    CJ        Other (specify)                                                                                                                                     $      ______
                                                                                                                                                                                           _


                                                                                                                                                                                                           _


         f. CJ          Other (specify)                                                                                                                                        $   _____



         g. CJ          Continued on Attachment 1.g.

    2. Special damages
         a. W           Medical expenses (to date)                                                                                                                          s 27,ooo.oo

         b W            Future medical expenses (present value) ....                                                                                                           $ 1 5,000.00
         c. CJ          Loss of earnings (to date) .                                                                                                                        $          _
                                                                                                                                                                                   ____




         d. CJ          Loss of future earning capacity (present value) ......... .
                                                                                                                                                                            $      _____



         e.   CJ        Property damage ....... . . . . . . . . .   .   . . . . . .. . . . .                                                                                $      _____



         f.   D         Funeral expenses (wrongful death actions only)                                                                                                      $      ______



         g. CJ          Future contributions (present value) (wrongful death actions only) ...... ...... . .                                                                $      _
                                                                                                                                                                                    ____



         h. c=::J       Value of personal service, advice, or training (wrongful death actions only) .                                                                      $           _
                                                                                                                                                                                   _____



         i.   CJ        Other (specify)
                                                                                                                                                                            $ ______
              D         Other (specify)
                                                                                                                                                                            $      ______



         k.   c=J       Continued on Attachment 2.k.

    3.   c:::J     Punitive damages:             Plaintiff reserves the right to seek punitive damages in the amount of (specify) ..                                    $
                  when pursuing a judgment in the suit filed against you.
         Date:          October 1 6. 20 I 9
         Philip L. Marchiondo                                                                                         �--=J/�C::;-::1:::;A:::1?t:'.·:i<1-:f
                                                                                                                                                 ....     ::'::·='-={::,:::l::<,.:-'·��/'_1{_�_5_:_-�....._�::__
                                                                                                                                                                          ..                      ..
                                            {TYPE OR PRINT NAME)                                                                 /SIGNATURE OF-          NTIFf OR ATTORNEY FOR PLAINTIFF)
                                                                                               {Proof of service on reverse)                                                                      p        1 of 2
                                                                                       STATEMENT OF DAMAGES                                                      Cnde ofCIV!I P<ocedute, §§ 425. 1 1 . 425 1 1 5
                                                                                                                                                                                      www couftll'lfo cagov
                                                                                   (Personal Injury or Wrongful Death)
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                                                                                                                                                                  CIV-050

     �--·     PLAINTIFF         TRAMELL DAVIS
                                                                                                                   CASE   NUMBER

                                                                                                                               1 9STCV205 1 4
         DEFENDANT              THE GEO GROUP, INC
                                                                             PROOF OF SERVICE
      (After having the other party setVed as described below, with any of the documents identified in item 1, have the person who seNed
      the documents complete this Proof of Service. Plainuff cannot serve these papers)

      1 . I served the
              a.   D      Statement of Damages          D Other (specify):
              b. on (name).
              c_ by serving      c:=J defendant         c:J other (name and title or relationship to person served):
              d.    D by delivery             D at home       Oat business
                          ( 1 ) date:
                          (2) time
                          (3) address:

              e.    D by mailing
                          (1) date:
                          (2) place:

      2 Manner of service (check proper box):
          a.       D      Personal service. By personally delivering copies. (CCP § 415.10)
          b.       CJ     Substituted service on corporation, unincorporated association (Including partnership), or public entity.                        By
                          leaving, during usual office hours, copies in the office of the person served with the person who apparently was in
                          charge and thereafter mailing (by first-class mail, postage prepaid) copies to the person served at the place where the
                          copies were left (CCP § 41 5.20(a))
          c.       [=:J   Substituted service on natural person, minor, conservatee, or candidate.            By leaving copies at the dwelling house.
                          usual place of abode, or usual place of business of the person served in the presence of a competent member of the
                          household or a person apparently in charge of the offrce or place of business, at least 1 8 years of age, who was
                          informed of the general nature of the papers, and thereafter mailing (by first�class mail, postage prepaid) copies to the
                          person served at the place where the copies were left.
                                                                               (CCP § 41 5.20(b)) (Attach separate declaration or affidavit
                          stating acts relied on to establish reasonable diligence in first attempting personal service.)
         d_        c=:J   Mail and acknowledgment service. By mailing (by first- class mail or airmail, postage prepaid) copies to the person
                          served, together with two copies of the form of notice and acknowledgment and a return envelope, postage prepaid,
                          addressed to the sender. (CCP § 415.30)       (Attach completed acknowledgment of receipt.)
         e.        D      Certified or reg istered mall service.     By mailing to an address outside California (by first-class mail, postage prepaid.
                          requiring a return receipt) copies to the person served. (CCP § 41 5.40)     (Attach signed return receipt or other
                          evidence of actual del ivery to the person served.)
         f.        D      Other (specify code section):
                          D        additional page is attached.
     3. At the time of service I was at least 18 years of age and not a party to this adion_
     4. Fee for service· $
     5. Person serving:
         a.
         b.
         c.
               a
               D          California sheriff, marshal. or constable
                          Registered California process server
                          Employee or independent contractor of a registered
                                                                                            f. Name, address and telephone number and, if applicable,
                                                                                                county of regis1ration and number:


                          California process server
         d.    D          Not a registered California process server
         e.    D          Exempt from registration under Bus. & Prof. Code
                          § 22350(b)
     I declare under penalty of perjury under the laws of the                               (For California sheriff, marshal, or constable use only)
     State of California that the foregoing is true and correct.                            I certify that the foregoing is true and correct
     Date:                                                                                            Date:


      �   -------
                                          (SIGNATURE)
                                                                                                      �-----===------­     (SIGNATURE)

     Ctv-050 {Rev Jl!lmlli'Y , . 21)JJI
                                                                                                                                                                Page 2 of 2
                                                                       PROOF OF SERVICE                                        Code of Civil Prooedufe §§ 425   11<�ZS 1 � �
                                                                     (Statement of Dam-s)
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